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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION

UNITED STATES OF AMERICA                                  )
                                                          )      Criminal Action No. 7:18-cr-00019
                                                          )                          7:19-cr-00016
    v.                                                    )
                                                          )      By: Elizabeth K. Dillon
FRANK PURPERA                                             )          United States District Judge

 MEMORANDUM OPINION AND ORDER GRANTING DEFENDANT’S MOTION TO
                         RECONSIDER

         By motion dated August 6, 2019, the defendant, Frank Purpera, asked to court to continue

the trial date in these cases, consolidated for trial. (Mot. to Cont., Dkt. No. 21.)1 The cases are

on charges identified in the second and third indictments filed against the defendant. The United

States objected to the motion. All parties, including the defendant, appeared by telephone on

August 7, at which time the court denied the motion, noting defense counsels’ pattern of delay

and their substantial time for preparation. The court further entered an opinion on August 12,

2019, to make clear its reasons for the denial. (Mem. Op., Dkt. No. 25.)

         On August 22, 2019, Purpera filed a motion for reconsideration, again requesting the

court grant a continuance. (Mot. to Reconsider, Dkt. No. 31.) The United States renewed its

objection. (Resp., Dkt. No. 32.) For the reasons set forth below, the court will grant Purpera’s

motion.

         “The sixth amendment, while not providing an absolute right, guarantees a defendant a

fair opportunity to secure counsel of his own choice to represent him at trial on criminal

charges.” Sampley v. Attorney General of N.C., 786 F.2d 610, 612 (4th Cir. 1986). However,

“[t]he limit of the right is necessarily found in the countervailing state interest against which the


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           Because Purpera filed his motion to reconsider in Case No. 7:19-cr-00016, citations are to the record in
that case unless otherwise indicated.
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sixth amendment right provides explicit protection: the interest in proceeding with prosecutions

on an orderly and expeditious basis.” Id. at 613. Thus, a district court has broad discretion on

matters of continuances and “only an unreasoning and arbitrary ‘insistence upon expeditiousness

in the face of a justifiable request for delay’ violates the right to the assistance of counsel.”

Morris v. Slappy, 461 U.S. 1, 11–12 (1983).

        In considering the latest of Purpera’s motions to continue, the court finds guidance in the

analogous case of United States v. LaRouche, 896 F.2d 815 (4th Cir. 1990). There, absent

objection from defense counsel, the district court scheduled trial merely five weeks after

arraignment. Eighteen days after the arraignment, defendants moved for a continuance. The

court denied the motion, and the defendants appealed their subsequent conviction, arguing that

the district court abused its discretion by denying the continuance.

        Holding that the district court did not abuse its discretion, the Fourth Circuit found that

the defendants’ delay in filing their motion supported the trial judge’s decision. Id. at 824

(“When Judge Bryan denied the defendants’ motion for a continuance, he possessed a highly

relevant piece of information: the defense waited eighteen days to move for a continuance.

Defense counsel’s prolonged silence leads to the reasonable interference that 34 days was not a

clearly insufficient period of time between arraignment and trial.”).

        Purpera makes much of the fact that he filed his motion for continuance “more than a

month before the trial was set to begin.” (Mot. to Reconsider 2, Dkt. No. 31.) However, the

issue is not just how much time remains before trial, but also how long a party delays prior to

filing their motion. See United States v. Badwan, 624 F.2d 1228, 1231 (4th Cir. 1980) (“[A]n

attorney having a substantial claim for a continuance should move for the continuance as early as

possible. . . . The later the motion is made the more disruptive will be any continuance granted,



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and the more likely may it reasonably appear to the judge that the motion is made for dilatory

purposes.”). Notably, Purpera filed the motion to continue well over one month after defense

counsel became aware of both asserted reasons for the need for a continuance.

        Purpera further suggests that without a continuance, counsel cannot provide effective

assistance. Although Purpera’s lead defense counsel has had over six months2 to prepare for

trial, he has not set aside the requisite time to prepare his client. In LaRouche, the court of

appeals summarily dismissed the defendants’ similar contention that the “rush to

trial . . . contributed to the inability of any of the defendants to take the stand as they were not

adequately prepared.” 896 F.2d at 825 (“More than a general allegation of ‘we were not

prepared’ is necessary to demonstrate prejudice.”); see also Sampley, 786 F.2d at 613

(“Obviously a defendant has no constitutional right to dictate the time, if ever, at which he is

willing to be tried by simply showing up . . . with allegedly unsatisfactory counsel, whenever his

case is called for trial.”).

        Nonetheless, the court finds that the circumstances of this case warrant a continuance to

allow defense counsel time to prepare Purpera for trial. The court acknowledges that granting

Purpera’s motion delays the administration of justice and frustrates the government’s trial

preparation. However, defense counsel’s apparent continued inability to find time for his client,

despite the court’s previous ruling, casts doubt on the adequacy of Purpera’s representation and

threatens Purpera’s Sixth Amendment right to effective assistance. If the court were to go

forward on the scheduled trial date, defense counsel would appear and undoubtedly represent

that they were unprepared to proceed.




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         The court consolidated these cases on February 22, 2019, and set a two-week jury trial to begin on
September 9, 2019.

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        The court thus finds that, without a continuance, Purpera will have insufficient time to

meet with his defense counsel and prepare for trial. As a result, Purpera may not receive the

protections afforded him by the Sixth Amendment, potentially resulting in a miscarriage of

justice. 18 U.S.C. §§ 3161(h)(7)(B)(i), 3161(h)(7)(B)(iv). Additionally, Purpera “embraces the

need for continuance and wants it to take place.” (Mot. to Cont. 3, Dkt. No. 21.)

        Accordingly, the court finds that the ends of justice served by the granting of the

continuance outweigh the best interest of the public and defendant in a speedy trial pursuant to

18 U.S.C. § 3161(h)(7)(A) of the Speedy Trial Act and will grant Purpera’s motions to

reconsider and to continue.

        For all of these reasons, the court’s prior opinion and order dated August 12, 2019, (Dkt.

No. 25) is VACATED, and the defendant’s motions to reconsider (Dkt. No. 31) and continue

(Dkt. No. 21) are GRANTED. The current pre-trial conference, scheduled for August 27, 2019,

at 1:00 p.m., will be held for the purpose of rescheduling both the pre-trial conference and the

trial date.

        The clerk is directed to send a copy of this memorandum opinion and order to all counsel

of record.

        Entered: August 26, 2019.




                                                      /s/ Elizabeth K. Dillon
                                                      Elizabeth K. Dillon
                                                      United States District Judge




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